Case 2:16-cv-10423-|LRL-KWR Document1-5 Filed_06/15/16

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sTA'rE oF LoUIsIANA
No. \ll~ v\“\§ g DIvrsIoN said

DENISHA RODRIGUEZ

vERsUs

SENTRY [NSURANCE A MUTUAL COMPANY,
MAECO FABRICA'I`lON, INC. AND BRANDON GORDON

FILED:

 

DEPUTY cLERK

 

PETlTloN FoR hAMAGEs

The Petition of DENISHA RODRIGUEZ, a person of n the full age of majority and

resident of the Pan`sh of Orleans, State of 'Louisiana, respectfully represents:
' I.

Made defendants herein are: _

SENTRY INSURANCE A MUTUAL COMI’ANY, a domestic/foreign insurance
company authorized t_o do and doing business in the State of Louisiana;

MAECO FABRICATION, INC., a domestic/foreign corporation authorized to do and
doing business in the State of Louisia.na; and

BRANDON GORI)ON, a person of the full age of majority and a resident of the County
of Jackson, State of Mississippi.

II.

Defendarits herein are jointly and in solido liable and indebted unto Petitiouer for such
damages as are reasonable in the premises, including past physical pain and suffering, future
physical pain and suffering, past, present, and future mental pain and suffering, past, present, and
future medical expenses, rental expenses, property damage, loss of use and/or depreciation of
vehicle, loss of past and future earnings, loss of future earning capacity, past and future loss of
enjoyment of life, permanent disability to the body, loss of consortium, and penalties and
attorneys’ fees together with legal interest thereon from date of judicial demand until paid, and

for all costs of these proceedings, for the following to-w‘it:

Page 1 of 12

Case 2:16-cv-10423-|LRL-KWR Document 1-5 Filed 06/15/16 Page 2 of 12

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Ill.

On or about February_ 1, 2016, an accident occurred on or about South Claiborne
Avenue at or near its intersection with lackson Avenue in the Parish of Orleans,. State of
Louisiana, wherein the vehicle owned by MAECO FABRICATION, INC. and operated by
BRANDON GORDON, suddenly and without warning made an improper left turn into the
vehicle owned and operated by DENISHA RODRIGUEZ.

. IV. n

The sole and proximate cause of the above-referenced accident was the negligence and
fault of the defendant, BRANDON GORDON, which is attributed to, but not limited to, the
following non-exclusive particulars v fin n n l

a) Lack of reasonable safety when attempting a left turn;

b) Careless operation;

c) Improper lane usage;

d) Failure to yield;

e) Faiiure to see what he should have seen;

t) Failure to keep a` good and careful lookout',

g) Failure to maintain a safe distance from other vehicles;

h) Operating his vehicle in a careless and reckless manner without regard for the
safety of others; 4 l

i) Failure to maintain reasonable and proper control of the vehicle which he was
operating; n v

j) Failure to follow the customary rules of the road of the State of louisiana, which
rules are specifically pled herein as though copied in extenso; and `

k) Any and all other acts of negligence which may be prioven at the trial of this
matter,

V.

As a result of the subject accident and negligence of the above-referenced defendant,

BRANDON GORDON, Petitioner, DENISHA RODRIGUEZ, suffered severe and disabling

injuries and is entitled to recover such damages as are reasonable in the premises

Case 2:16-cv-10423-|LRL-KWR Document 1-5 Filed 06/15/16 Page 3 of 12

VI.

Upon information and belief, it is alleged that at all times material hereto, that
BRANDGN GORDON was on a mission and/or errand for and/or in the course and scope of his
employment with MAEco FABRICATIoN, INC. on the date of this accident thus rendering
said defendant, MAECO FABR[CATION, ]NC., vicariously liable unto l’etitioner i.'i/ithtliev
other named defendants. k

VII.

Upon information and belief, it is alleged that at all times material hereto, including but
not limited to the date of the subject accident, defendant, SENTRY ]NSURANCE A MUTUAL
COMPANY, provided a policy of automobile liability insurance on the vehicle owned by
MAECO FABRICATION, ]NC. and operated by BRANDON GOlZl)ON, and said policy
provided coverage for the type of loss sued upon herein, thus rendering the defendant,:'=S'EN'l`RY
WSUWCE A MUTUAL COMPANY, liable unto Petitioner with the oth:er`\ named
defendants /

VlI_l.

Defendants are responsible for property damages to Petitioner’s vehicle, rental car
. reimbursement, storage fees, towing fees, loss of use and/or depreciation of car val/nez and all
other ancillary damages stemming ii'om said property damages

At all relevant tirnes, SENTRY INSURANCE A MUTUAL COMPANY has acted in
bad faith towards Plaintiff, including by failure to make a reasonable tender for his injuries, and
failure to reasonably adjust his property damage claim. Damages against SENTRY
INSURANCE A MUTUAL COMl’ANY should include penalties under La. R.S. 22:1892 and
22:1973; double damages pursuant to LSA-R.S. 22:1973; 50% penalties for failure to submit
payment within thirty (30) days from proof of claim; attorneys’ fees; court costs', and any other

relief this Honora-ble Court deems fair and equitable

WHEREFORE, Petitioner prays that defendants be duly cited and served with a copy of

this Petition; and, after all due proceedings are had, there be a judgment rendered herein in favor

Case 2:16§cv-1-O423-|LRL-KWR Document 1-5 Fi|)e'd 06/15/16 Page 4 of 12

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of Petitioner and against the defendants, SENTRY INSURANCE A MUTUAL COMPANY,
MAECO FABRICATION, INC. AND BRANDON GORDON, jointly and in solido in
amounts as are reasonable in the premises, including but not limited to, past physical pain and
suffering, future physical pain and suffering, past mental pain and suffering, future mental pain
and suffering, past, present, and future medical expenses, rental expenses, property damage, loss
of use and/or depreciation of vehicle, loss of past and future earnings, loss of fixture earning
capacity, permanent disability of the body, past and iirture loss of enjoyment of life, loss of
consortium, and penalties and attorneys’ fees, together with legal interest thereon from date of
judicial demand, until paid, and for all costs of these proceedings.
Petitioner further prays for all general and equitable relief as the Court deems fi_t.
l
Respectfully submitted,

LAW omcns oF EDWAR!) J. woMAc, Jn.

& ASSOCIATES, LLC

EDWARD J. W MAC, JR. #02195
JONATHAN R. ARLOWE #3`1854
3501 Canal Street

New Orleans, LA 7 l"l9

Telephone No. (504) 86-9999
Facsimile No. (504) 488-4178
jmarlowe@edwardwomao.eorn

 

PLEASE SERVE:

SENTRY INSURANCE A MUTUAL COMPANY ' '
'[hrough Its Registered Agent for Se`rviee of Process:
Louisiana Secretary of State

8585 Archives Avenue

Baton Rouge, Louisiana 70809?

MAECO FABRICATION

Through the Louisiana Long-Arm Statute:
12530 Saeger Road

Grand Bay, Alabar'r'ra 36541

BRAND ON GORDON

Through the Louisi ana Long-Arm Statute:
12012 Independence Road

Moss Point, Mississippi 39562

 

Case 2:16-cv'-10423-|LRL-KWR Document 1-5 Fi|`ed 06/15/16 Page 5 of 12

Marlowe, Jonathan R 3 l854
41 17 Yrrlc St ,fMetoirie, |`_A 70002

ATTORI‘{EY'S NAME:
A‘ND Al)DRESS:

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CIVIL DIS,TRICT COURT FOR THE PARISH OF ORLEANS

 

STATE OF LOUISlANA `
NO: 2016`~04758 DlVISION: C SECT[O'N: 10
RO'DRIGUEZ, DENISHA
Versus
SENTRY INSURANCE A MUTUAL COMPANY E'l` AL
C'lTA.T]ON

'1`0: SENTRY INSURANCE MUTUAL COMPANY
THROUG`H: lTS REGISTERED AGENT 'FOR SERVICE OF P.ROCESS: LOUISIAM%§§R§”&ARY OF

STATE

TOM SCHEDLER

8585 ARCIVHES AVENU, BA'I`ON ROUGE, LA 70809

YOU 'l'lAVE BEEN SUED:

You must either comply Wit`h the demand contained in the

I’etition for Darnages

MAY 24 2015

S_ECRETA R‘f OF STATE
COMMERC|AL DlVlSlON

a certified copy of which accompanies this citation, or tile an answer or other legal pleading in. the office of the

Clerk of this Court, Room 402, Civil Courts Building, 42
days after the service hereof under penalty of default

l Loyola Avenue, New 0rleans, LA, within fifteen (15)

ADDITlONAL INFORMATI.ON

leg

al assistance is advisable It` you want a lawyer and ean't find one, you may call the New Orleans

Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with the New

Orleans Bar Asscciation. If you qualify,

you may be entitled to free legal assistance through the New

Orleans `Lega|. Assisrance Cor_p. You may call them at 800-624-4771 or 504-525-4431.
********COURT PERSONNEL ARENOT PERMITTED TO GIVE LEGAL ADVICE********

 

IN WITNESS HEREOF, I_ have hereunto set my hand and afo the seal of the Civil District Court for'the

Parish of Orleans, State ofLAMay 11, 2016

Clerk's Ot't'rce, Room 402, Civil Courts
421 Loyola Avenue -
New Orleans, LA

DALE N. ATKINS, Clerk of
The Civil District Court
for the Parish ii rleans.

NyrieJe erson,D pu

 
 
   

 

SHER`IFF'S RETURN
(t`o_r use ot`proc::ss servers only)
PERSONAI. SERV|CE DOMIC!LIARY SERVICE
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ON SENTRY lNSURANCB M UTUAL COMFANY

THROUGH: lTS REG!STEREb AGENT FOR SERVlCE OF PROCESS:
LOUlSlANA SECRE`|`ARY QE STATE

 

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ON SENTRY INSURANCE MUTUAL COMPAN¥

THROUGH: lTS REGlSTERED AGENT FOR SERV|CE OF PRBCESS:
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‘ absent fmm thc domicile at time of said scrvi¢:c. "
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Case 2:16-cv-10423-|LRL-KWR Document 1-5 Filed 06/15/16 Page 6 of 12

State pf Louisiana
Secretary`of State

_ Legal Services Seetlon
05/25/2016 P.O. Box 94125. Baton Rouge. LA70804-9125
(225) 922-0415

sENTRY leuRANcE, A MuTuAL coMPANY ` " '
3367 PLAzA ToWER DR
BATON RouGE, LA 70816

Sult No.; 1641§8
CIVIL DlSTRlCT COURT
ORLEANS PAR|SH

DENISHA RODR|GUEZ
VS
SENTRY INSURANCE A MUTUAL COMPANY, ET AL

Dear Sir/Madam:

l am enclosing citation served in regard to the above entitled proceed|ng. Please call the attorney that filed this
document if you have any questions regarding this proceeding. lf you received this document In error, please
return it to the above address with a letter of explanation ' '

You rs very tru|y,
TOM SCl-IEDLER
Secretary of State
Served on: TOM SCHEDLER Date: 05/24/2016 d
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Case 2:16-cv-10423-|LRL-KWR Document 1-5 Filed 06/15/16 Page 7 of 12

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Case 2:16-cv-10423-|LRL-KWR Document 1-5 Filed 06/15/16 Page 8 of 12

' ~. C_l_. COi'pOi”a'EiOi'i l Service!of Process
' ' - ,Transmittal `
` - 05/2612016
b cr Log N'umber 529236560

T0: Josh Smrz
Sentry insurance
1800 Northpoint Dr
Stevens Point, Wl 54481- 1283

RE= Process Served ln Lou|sla`na

Fol\=- Sentry insurance a Mutual company (Domestic State:'» Wi) _

ENCLOSED ARE GDFIB 0F _LEGAL PROCESS RECE|VEII BY 'I`|IE STATUT°RY AGENT UF '_I'HE ABWE GONFANY AS F°LLOWS:

'rm.E oF Ac'rlou= ‘ ' Denisha Rodriguez, Pltf. vs. Sentry insurance a Mutual Company, et al._, ths.
noculd£u'r(s) sERVEn= 'Letter, Citation, Petition l
coun:r/AaeucY; 2:;_:§|~|250;1(6)§££?$ CiV|i. D|STR|CT COUR`l', LA ’
uA-rune oF Ac‘rlou= v insurance Lil:igation-. -Ciai_r'n for policy benefits

on wuou success who sERvEnx' _ C T Corporai;ton System, Ba`ton Rouge,LA

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.lumsmcfloil sERont Louisiana _

oren/moe on mullen nue= within 15 days after service hereof "

Amnue'v(s) iseunema)= EDWARD J. WOMAC,J

LAW OFFiCES OF EDWARD -J. WOMAC, JR. & ASSOC|ATES, LLC
3501 Canai Sretet '

New` Orleans, LA 7011_9

504- 486- 999

Achou rrEtlls= CT has retained the current log,- Retain Date: 05/_27/2016, Expected Purge Da_te:.
06/01 l2016

'|rnage SOF
Er`naii Notification, Josh Smrz josh. _smrz@sei‘\try. corri

F.mailNotification, Michelle Gear michelle.gear@$entrvconji"

slanen= ' C T Corpor'atioh System
- Aooness: 3867 Plaza Tower Dr.
_ § Baton Rouge, LA70816- 437_8
TELEFHoNE - 612- 333-4315-

Page 1 of'1 / oR

' information displayed on wis transmittal is forCi’ _
Corporation's record keeping purposes only and ls provided to _
the recipient for qu|dt reference This information does not
constitute a legal opinion as to the nature of actlon, the '
amount of damages, the answer date, or any information
contained in the documents themselves. Rectpier\t is
rsponsidle for interpreting said documents and for taking
appropriate action. Slgnatures oi\ certified mail receipts
Contirm receipt of package oniy, not contents.

CaSe 2216-CV-10423-|LRL-KWR DOCUl_Tient 1-5 Filed 06/15/16

crvIL DISTRICT COURT FoR THE ramer oF oRLEANs
STATE OF LOUISIANA , "
No.: 2016 - 04758 ` DIvIsioN “c”
DENISHA ROD_RIGUEZ '
vERSUS
sENTRY INSURANCE, A MUTUAL coMPANY,

MAECO FABRICATION, INC. AND BRANDON GORDON l `

FILED:

 

DEPUTY CLERK

MOTION FOR EX'I`ENSION OF TIME

NOW INTO COURT, through undersigned counsel, come defendants, Brandon
Gordon, Maeco Fab1ication, Inc., and Sentry Insur ance A Mutual Company, solely for the
purpose of seeking an extension of time to respond to plaintiffs’ Petition for Damages and
without making a general appearance, respectfully suggest to this Honorable Court that
movers and their counsel require additional time Within Which to investigate the claims and
allegations made and to prepare and file pleadings in response thereto, and to determine
Whether undersigned counsel may represent the interests of both defendants and that for these
purposes, movers desire an extension of time of thirty (30) days from the date of signing of
this Order within which to tile responsive or other appropriate pleadings in this matter.
Movers further aver that no prior request for extension of time has been requested l

IT IS Ol{DERED that defendants, Brandon Gordon, Maeco Fabrication, lnc., and '
Sentry lnsurance A Mutual Coinpany, be hereby granted an extension of time of thirty (3 0)
days from the date of signing ot` this Order within Which to tile responsive or other pleadings
in the above-entitled and numbered lawsuit.

NeW Orleans, Louisiana this ' day of v , 2016.

 

`JUDGE

Page 9 of 12

Case 2:16-cv-10423-|LRL-KWR Document 1-5 Filed 06/15/16 Page 10 of 12

 
  

Respectfully submitte

.,i/__' '

 

,/on:ARDES¢NK/P‘O/NDER, 111, #2052
PONDER LAW FIRM ;'
1010 Common Street, Suite 1715
New Orleans, Louisiana 70112
Telephone: (504) 528-3066
Facsimile: (504) 528~3077

CERTlFlCATE OF SERVICE

I, Charles M. Ponder, Ill, do hereby certify that a copy of the foregoii}g/ pleading
has been served upon all parties through their attorn/ey/g record by:l?(transmitting
same via facsimile, and/or E\depositin same/in»th'e » nited States Mail, properly
addressed and postage pre-paid thi _ /day rry>, 2016.

cHARLEs M. PONDER, 111

  

      

Case 2:16_-cv-10423-|LRL-KWR Document 1-5 Filed 06/15/16 Page 11 of 12

CIVIL DISTRICT COURT FOR THE I’ARISH OF ORLEANS`
STATE OF LOUISIANA
NO.: 2016- 047 58 DIVISION “C”
DENISHA RODRIGUEZ
VERSUS

SENTRY INSURANCE, A MUTUAL COMPANY,
MAECO FABRICATION, INC. AND BRANDON GORDON

FILED:

 

DEPUTY CLERK
REQUEST FOR NOTICE y

NOW COMES defendants, Brandon Gordon, Maeco Fabrication, lnc., and Sentry
Insurance A Mutual Company, in accordance with Article 1572 ot the Louisiana Code of
Civil Procedure and hereby requests written notice of the date set for trial of the above
numbered and entitled cause, or of the date set for trial or hearing upon any motion,
exception, rule or other matter, at least ten (10) days before any trial or hearing date.

Defendants, Brandon Gordon, Maeco Fabrication, Inc., and Sentry Insurance A
Mutual Company, further requests notice of the signing of any final judgment, the rendition _
of any interlocutory order or judgment, or of any order of judgment refusing to grant a new
trial, in said cause as provided by Articles 1913 and 1914 of the Louisiana Code of Civil

Procedu.re.

Respectfully submitted,

  

./'

 

cHAI<“LEs M. PoNDER, 111, #2052
PONDER LAW FIRM

1010 Common Street, Suite 1715
New Orleans, Louisiana 7 01 12
Telephone: (504) 528-3066
Facsimile: (504) 528-3077

Case 2:16-cv-10423-|LRL-KWR Document 1-5 Filed 06/15/16 Page 12 of 12

CERTIFICATE OF SERV!CE

1, Charles M. Ponder, 111, do hereby certify that a copy of the foregoing pleading
has been served upon all parties through their attor/neyrofr’§a>rd by:i?ltransmitting
same via facsimile, and/or Eldepositing sam,e~in`ihe}lnit€d States Mail, properly
addressed and postage pre-paid this _ day f'Ma 2016.

  
 
    

s M. PoNDER, 111

